                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
                       CHIEF JUDGE MARCIA S. KRIEGER

Courtroom Deputy:   Patricia Glover       Date: April 9, 2014
Court Reporter:     Terri Lindblom

Civil Action No. 13-cv-01300-MSK-MJW

Parties:                                 Counsel:

COLORADO OUTFITTERS ASSOCIATION;         Peter J. Krumholz
COLORADO FARM BUREAU;                    Richard A. Westfall
NATIONAL SHOOTING SPORTS                 Douglas L. Abbott
FOUNDATION;
MAGPUL INDUSTRIES;                       Marc F. Colin
USA LIBERTY ARMS;
OUTDOOR BUDDIES, INC.;
WOMEN FOR CONCEALED CARRY;
COLORADO STATE SHOOTING
ASSOCIATION;                             Anthony J. Fabian
HAMILTON FAMILY ENTERPRISES, INC.,
d/b/a FAMILY SHOOTING CENTER AT          David B. Kopel
CHERRY CREEK STATE PARK;
DAVID STRUMILLO;
DAVID BAYNE;
DYLAN HARRELL;
ROCKY MOUNTAIN SHOOTERS SUPPLY;
2ND AMENDMENT GUNSMITH & SHOOTER
SUPPLY, LLC;
BURRUD ARMS INC. D/B/A JENSEN ARMS;
GREEN MOUNTAIN GUNS;
JERRY’S OUTDOOR SPORTS;
GRAND PRIX GUNS;
SPECIALTY SPORTS & SUPPLY; and
GOODS FOR THE WOODS;

            Plaintiffs

v.

JOHN W. HICKENLOOPER, Governor of the     Matthew D. Grove
State of Colorado,                        Kathleen L. Spalding
                                          Stephanie L. Scoville
                                          LeeAnn Morrill
            Defendant.
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HEARING: Bench Trial - Day Eight
8:48 a.m.      Court in session

Counsel present as listed above.

Continued cross examination of witness Douglas Fuchs by Mr. Colin.

Re-direct examination of witness by Ms. Spalding.

The Court addresses plaintiffs’ motions in limine (Doc. #148, #150).

Argument.

ORDER:         Plaintiff’s motion in limine (Doc. #150) is DENIED. Plaintiff’s motion in limine
               (Doc. #148) is WITHDRAWN.

Witness sworn for the defendant: Jeffrey Zax:
9:56 a.m.    Direct examination of witness by Mr. Grove.

10:24 a.m.     Court in recess
10:53 a.m.     Court in session

Continued direct examination of witness by Mr. Grove.
EXHIBITS: Received:            66, 67, 68, 69, 70, 59, 60, 61, 62, 63, 65

Counsel stipulate to facts as read into and reflected on the record.
12:08 p.m.     Court in recess
1:46 p.m.      Court in session

Witness called out of order:

Witness sworn for the defendant: Andrew Logan:
1:47 p.m.    Direct examination of witness by Ms. Scoville.

Cross examination of witness by Mr. Fabian.

No re-direct examination of witness.

Continued direct examination of witness Jeffrey Zax by Mr. Grove resumes.
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EXHIBITS: Received:           78, 73

Cross examination of witness by Mr. Krumholz.
3:14 p.m.      Court in recess
3:41 p.m.      Court in session

Continued cross examination of witness by Mr. Grove.

Re-direct examination of witness by Mr. Krumholz
Witness sworn for the defendant: Randy Hampton:
4:45 p.m.    Direct examination of witness by Ms. Scoville.

Cross examination of witness by Mr. Fabian.

No redirect examination of witness.

Plaintiff makes a proffer regarding the evidentiary issue that arose during Mr. Zak’s testimony.
EXHIBITS: Received:           140

The Court addresses rebuttal testimony and closing arguments to take place tomorrow.
5:14 p.m.      Court in recess

Total Time: 5 hours 52 minutes.
Trial continued.
